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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


 STATE OF KANSAS, et al.,

                      Plaintiffs,

           v.                                           Case No. 24-1057-DDC-ADM

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States,
 et al.,

                      Defendants.


                             DEFENDANTS’ MOTION TO DISMISS
        For the reasons set forth in the accompanying memorandum of law, Defendants move to

dismiss the complaint, in its entirety, for lack of subject-matter jurisdiction under Federal Rule of Civil

Procedure 12(b)(1).


        Dated: April 26, 2024                        Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     MARCIA BERMAN
                                                     Assistant Branch Director

                                                     /s/ Stephen M. Pezzi
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